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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                               Chapter 7

    START MAN FURNITURE, LLC, et al.,1                                   Case No. 20-10553 (CTG)

                                     Debtors.                            (Jointly Administered)

                                                                         Re: Docket No. 1572

                                 ORDER GRANTING
                  SEVENTH INTERIM (NON-CONTINGENT) APPLICATION
                     FOR COMPENSATION AND REIMBURSEMENT
                OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
                    AS COUNSEL TO THE CHAPTER 7 TRUSTEE, FOR
             THE PERIOD FROM SEPTEMBER 1, 2022 THROUGH MARCH 31, 2023

                    Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), as counsel for the Chapter 7

Trustee in the above-captioned cases, filed a Seventh Interim (Non-Contingent) application for

allowance of compensation and reimbursement of expenses for September 1, 2022 through

March 31, 2023 (the “Seventh Interim Fee Application”). The Court has reviewed the Seventh

Interim Fee Application and finds that: (a) the Court has jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334; (b) notice of the Seventh Interim Fee Application, and any hearing

on the Seventh Interim Fee Application, was adequate under the circumstances; and (c) all

persons with standing have been afforded the opportunity to be heard on the Seventh Interim Fee

Application. Accordingly, it is hereby




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man
Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II,
LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start
Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure
Sleep Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam
Levin, Inc. (5198); and Comfort Mattress LLC (4463).



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                    ORDERED that the Seventh Interim Fee Application is GRANTED, on an

   interim basis. Fees in the amount of $426,717.50, and costs in the amount of $36,623.15, are

   allowed on an interim basis. The Chapter 7 Trustee in the above cases shall pay to PSZ&J the

   sum of $426,717.50 as compensation and $36,623.15 as reimbursement of expenses, for a total

   of $463,340.65 for services rendered and disbursements incurred by PSZ&J for the period

   September 1, 2022 through March 31, 2023.

                    ORDERED that this Order shall be immediately effective and enforceable upon

   its entry.

                    ORDERED that this Court retains jurisdiction with respect to all matters arising

   from or related to the implementation, interpretation, and enforcement of this Order.




                                                     CRAIG T. GOLDBLATT
Dated: July 7th, 2023                                UNITED STATES BANKRUPTCY JUDGE
Wilmington, Delaware




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